Case 2:92-cr-20132-.]DB Document 49 Filed 06/06/05 Page 1 of 2 Page|D 70

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 35 JU§.___; _
WESTERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,

vS.

LERMEDEYO MALONE,
Defendant.

ORDER GRANTING GOVERNMENT‘S MO'I`ION
TO CONTINUE SENTENCING

No. 92-20132»13/
NO. 03-20169-13

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t. `JH. Mcif'l#'§PHf-*S

It is hereby ORDERED that the Government'S motion to continue the sentencing of

defendant, LERMEDEYO MALONE, currently set for June 16, 2005, is hereby GRANTED, and

the Sentencing is hereby reset to\)LLi_, ]_ 2005, at q gom-

DONE at Memphis, Tennessee, this_L;_

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Honorable .1. Breen
US DISTRICT COURT

